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                   IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

             Plaintiff,

      vs.                                                          No. CR 07-748 MCA

BENJAMIN RAYMOND,

             Defendant.


             REDACTED MEMORANDUM OPINION AND ORDER


      THIS MATTER comes before the Court on the following motions: (1) Defendant

Benjamin Raymond’s Motion to Dismiss [Doc. 308] filed on August 19, 2008; (2) the

Government’s Motion to Quash Subpoena Issued on October 9, 2008 [Doc. 388] regarding

the Rio Rancho Department of Public Safety filed on October 16, 2008; (3) the

Government’s Motion to Quash Subpoena [Doc. 397] regarding Assistant United States

Attorney Louis Valencia filed on October 20, 2008; (4) Defendant Raymond’s Motion to

Sever Trials [Doc. 425] filed on November 17, 2008; (5) Defendant’s Motion to Suppress

Evidence Seized from 313 C Geraldine Loop, Rio Rancho, New Mexico [Doc. 433] filed on

November 17, 2008; and (6) Defendant’s Motion to Suppress Evidence Seized from 1992

Blue Chevrolet Camaro [Doc. 435] filed on November 17, 2008 The Court held hearings

regarding Defendant’s Motion to Dismiss [Doc. 308] in Albuquerque, New Mexico on

October 24, 2008, and January 5, 2009. Between those dates, the Court also conducted an
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in camera review of files produced by the Rio Rancho Department of Public Safety (RRDPS)

and the United States Attorney’s Office (USAO).

       Having considered the parties’ submissions, the applicable law, the evidence and

arguments presented at the hearings, and being fully advised in the premises, the Court finds

that the present charges against Defendant Raymond arise out of conduct by him that was

known to the USAO on or before October 14, 2004, the date of his plea agreement in United

States v. Raymond, No. 03cr2066 MV, Doc. 45 (D.N.M. plea agreement filed Oct. 14, 2004).

The Court further finds that in the prior plea agreement, the United States Attorneys Office

for the District of New Mexico promised not to bring the present charges against Defendant

Raymond under these circumstances. Based on these findings, the Court concludes that

Defendant Raymond is entitled to specific performance of the USAO’s promise in his prior

plea agreement, with the result that Counts 1, 2, 3, 4, 5, 7 and 8 of the Superseding

Indictment [Doc. 36] in the present case must be dismissed without prejudice as to Defendant

Raymond only.

       The Court therefore grants Defendant Raymond’s motion to dismiss. The Court also

grants Defendant Raymond’s motion to sever all further proceedings against him and denies

the remaining motions as moot for the reasons set forth below

I.     BACKGROUND AND FINDINGS OF FACT

       The prior plea agreement that is the subject of the pending motion to dismiss was

executed on October 14, 2004, and was presented to the Honorable Martha Vazquez at the

change of plea hearing held on that date; Mr.Raymond was subsequently sentenced on

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December 15, 2004. The operative chronological timelines giving rise to the pending motion

to dismiss can be stated as follows:

1.     Ms. Josie Robinson reported to Rio Rancho police authorities that Mr. Henry George

was missing on June 22, 2002.

2.     Rio Rancho police authorities believed at that time that Mr. George was likely the

victim of a homicide, and Defendant Raymond was identified as a suspect.

3.     Albuquerque police officers arrested Defendant Raymond and Ms. Robinson on June

29, 2002, at which time Defendant Raymond had one or more firearms in his possession.

4.     Communications between the Albuquerque police and the Rio Rancho police, and

between the Albuquerque police and the United States Attorneys Office, began shortly after

the arrest of Defendant Raymond and Ms. Robinson on June 29, 2002.

5.     Defendant Raymond was subsequently indicted on October 17, 2003, for being a felon

in possession of a firearm.

6.     In the spring of 2004 the United States Attorney’s Office and Defendant Raymond

began negotiating a plea agreement in that case.

7.     A proposed plea agreement was sent to Mr. Raymond’s attorney by the AUSA on

April 28, 2004.

8.     Prior to the change of plea hearing and on May 11, 2004, The Honorable Martha

Vazquez ordered the United States Probation Office to prepare a Form 13 Pre-Plea Pre-

Sentence Investigation Report.




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9.     That report was completed on July 8, 2004, and delivered to counsel. In that Report,

Mr. Raymond was reported be a member of or affiliated with the “AB”, an obvious

abbreviation for “Aryan Brotherhood”.

10.    Mr. Raymond appeared at a change of plea hearing on October 14, 2004.

11.    The Plea Agreement which is the subject of the motion to dismiss was signed by Mr.

Raymond and his then attorney, Assistant United States Public Defender Benjamin Gonzales,

and Assistant United States Attorney Louis Valencia. In that Plea Agreement, the United

States Attorneys Office promised that it “will not bring additional charges against the

defendant arising out of defendant’s conduct now known to the United States Attorney’s

Office for the District of New Mexico.”

12.    Mr. Raymond was sentenced by Judge Vazquez on December 15, 2004.

13.    On July 6, 2006, skeletal remains were discovered on the west mesa of Albuquerque

and were subsequently identified as those of Henry George.

       In his pending motion to dismiss, Defendant Raymond asserts that his alleged conduct

giving rise to the present charges was known to the United States Attorney’s Office at the

time that he entered into his plea agreement in No. 03cr2066MV, and therefore falls under

the plea agreement’s promise “not to bring additional charges ...arising out of the defendant’s

conduct” the USAO knew at that time.

       In addressing the merits of the pending motion, the Court necessarily must scrutinize

the relationships among a series of concurrent law-enforcement investigations in the greater

Albuquerque metropolitan area (including the cities of Albuquerque and Rio Rancho) that

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gave rise to both the present case (No. 07cr748 MCA) and a prior case (No. 03cr2066 MV)

against Defendant Benjamin Raymond in the United States District Court for the District of

New Mexico. The records and materials reviewed and considered by the Court are

voluminous; the analysis is considerably fact intensive. In the earlier case, the USAO

brought an indictment on October 17, 2003, charging Defendant Raymond with being a felon

in possession of a firearm on or about June 29, 2002. [No. 03cr2066 MV, Doc. 1.] In the

present case (No. 07cr748 MCA), Defendant Raymond is facing charges arising under the

“violent crimes in aid of racketeering” statute, 18 U.S.C. § 1959(a), which allegedly were

committed during the months of June and July 2002. [Doc. 36.]

      A.     Law Enforcement Investigations Commencing in June 2002

      The indictment in No. 03cr2066 MV arose from an incident on June 29, 2002, when

officers from the Albuquerque Police Department (APD) encountered Defendant Raymond

and another individual, Josie Robinson, while responding to a call from an Albuquerque

used-car dealership reporting an attempt to pass a fraudulent check. During that encounter,

the APD officers discovered several items of evidence suggesting an organized effort to

forge checks and negotiate them using one or more false identities. At that time, the APD

officers also discovered that Defendant Raymond and Ms. Robinson each had one or more

firearms in their possession and that Defendant Raymond and Ms. Robinson each had prior

felony convictions. An APD detective indicated in his report that, “upon conducting an

interstate identification index request on [Defendant] Raymond,” which revealed his prior

felony convictions, “Detective Garcia of the APD Intelligence Unit was contacted in regards

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to ‘Project Exile.’” [Ex. 2 to Doc. 380, at Bates No. 000034.] “As a result of this

conversation, it was decided that [Defendant] Raymond would be booked into BCDC on the

aforementioned felony warrants and on charges that would be forthcoming from the U.S.

Attorneys Office regarding felon in possession of a handgun.” [Id.]

       During the incident at the car dealership on June 29, 2002, Ms. Robinson also reported

to the APD officers that she was involved in an investigation into the disappearance of Henry

George that was initiated by officers from the Rio Rancho Department of Public Safety

(RRDPS) a few days earlier. One of the APD officers in turn contacted Lieutenant Noel

Adams of the RRDPS, who confirmed that Ms. Robinson and Defendant Raymond were

mentioned in reports concerning the investigation of Mr. George’s disappearance from an

apartment in Rio Rancho, New Mexico, which is a suburban community adjacent to

Albuquerque. Lieutenant Adams also advised the APD officer that further evidence of check

forgery and false identification documents was found during the searches of Mr. George’s

apartment and Defendant Raymond’s apartment, both of which were located in the same

apartment complex in Rio Rancho, New Mexico. [Ex. 2 to Doc. 377-3, at 6-11.]

       Ms. Robinson’s involvement in the investigation of Mr. George’s disappearance, as

well as the evidence suggesting her involvement in other crimes such as forgery and identity

theft, are documented in police reports contained in the RRDPS files that were produced to

this Court. These reports indicate that on June 22, 2002, Ms. Robinson first spoke with

officers from the RRDPS about Mr. George’s disappearance.          In her conversation with

RRDPS officers on that date, Ms. Robinson alleged that Defendant Raymond and others

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were involved in a Neo-Nazi prison gang called the Aryan Brotherhood; she also suggested

that Mr. George’s disappearance was linked to the workings of that gang. [Ex. 2 to Doc.

377-3.]

       The investigation into Mr. George’s disappearance that was prompted by Ms.

Robinson’s statements on June 22, 2002, eventually culminated in the Superseding

Indictment [Doc. 36] filed in the present case (No. 07cr748 MCA), which charges Defendant

Raymond and three other Defendants (Bradley Wasson, Travis Dally, and Jeremiah Looney)

with several violent crimes in aid of racketeering under 18 U.S.C. § 1959(a). These violent

crimes in aid of racketeering include conspiracy, kidnapping, and murder of Mr. George, as

well as a related conspiracy and attempt to murder another individual, [name redacted]1, who

is anticipated to serve as a government witness with respect to Mr. George’s disappearance.

       Shortly after his arrest by APD officers on June 29, 2002, and well before any federal

charges were filed against him in No. 03cr2066 MV or 07cr748 MCA, Defendant Raymond

appeared in the Second Judicial District Court for Bernalillo County, New Mexico for

proceedings regarding the revocation of his probation on an earlier set of state charges dating

from the year 2000. See United States v. Raymond, Nos. D-202-CR-200003262 & D-202-

CR-200003101 (2nd Jud. Dist. Ct. orders revoking probation filed Aug. 20, 2002). He was

then placed in custody at the Bernalillo County Detention Center and subjected to a custodial

interview by RRDPS Detective David Hubbard as part of the investigation of Mr. George’s


       1
       Certain information in this Memorandum Opinion and Order has been redacted. An
unredacted version is filed under seal.

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disappearance. Detective Hubbard later testified that Defendant Raymond denied any

knowledge of Mr. George’s disappearance during the interview. [Doc. 416, Tr. 10-24-08,

at 76-77.]

       In addition to interviewing Defendant Raymond, the law enforcement officers

investigating Mr. George’s disappearance obtained search warrants for Defendant

Raymond’s apartment and his car, which had been seized during a traffic stop conducted by

an officer of the Sandoval County Sheriff’s Department (SCSD) on June 21, 2002. Bradley

Wasson, one of the co-defendants in No. 07cr748 MCA, was driving Defendant Raymond’s

car at the time of that traffic stop and was subsequently arrested. Sandoval County, New

Mexico is adjacent to, and directly north of, Bernalillo County and the City of Albuquerque.

       [Name redacted], an anticipated government witness in No. 07cr748 MCA, also was

in the car at the time of the traffic stop. On July 17, 2002, [name redacted] was severely

beaten while in custody on state charges. Defendant Raymond, as well as two of his co-

defendants in No. 07cr748 MCA (Travis Dally and Jeremiah Looney) allegedly were housed

in the same detention facility at the time [name redacted] was beaten.

       Police reports from SCSD regarding the traffic stop of June 21, 2002, as well as

reports from APD regarding the encounter with Defendant Raymond and Ms. Robinson on

June 29, 2002, were incorporated into the RRDPS file regarding the investigation of Mr.

George’s disappearance. The RRDPS also sent items retrieved during the searches of

Defendant Raymond’s car and apartment, as well as the search of Mr. George’s apartment,




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to the state crime lab for analysis. In addition, the RRDPS conducted follow-up interviews

with other witnesses, including Ms. Robinson and [name redacted]. [Ex. 3 to Doc. 377-4.]

       One of the RRPDS’ follow-up interviews with Ms. Robinson on July 10, 2002,

revealed evidence of her involvement in additional crimes that, together with the evidence

obtained by APD during the earlier incident on June 29, 2002, eventually gave rise to charges

against her in state and federal courts. On June 23, 2005, the USAO filed a three-count

indictment charging Ms. Robinson with possession of a firearm with an obliterated serial

number and possession of various false or counterfeit documents in Sandoval County, New

Mexico on or about July 10, 2002. See United States v. Robinson, No. 05cr1321 JEC, Doc.

1 (D.N.M. filed June 23, 2005). A fourth count alleging Ms. Robinson possessed an

unregistered firearm in Bernalillo County, New Mexico on or about June 24, 2002, was

added by way of a superseding indictment filed on March 15, 2006. [No. 05cr1321 JEC,

Doc. 16.]

       As noted in a sentencing memorandum [No. 05cr1321 JEC, Doc. 36], the USAO filed

the above federal charges against Ms. Robinson shortly before she was to be released from

incarceration on state charges filed on March 25, 2003, in the Second Judicial District Court

for Bernalillo County, New Mexico. See State v. Robinson, No. D-202-CR-200300848

(N.M. Dist. Ct. June 20, 2003). Those state charges of possessing a controlled substance,

possessing drug paraphernalia, and possessing an altered/forged/fictitious license, appear to

have arisen from the same encounter with APD officers and Defendant Raymond at the used

car dealership on or about June 29, 2002.

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       Thus, at the time the USAO brought the indictment against Defendant Raymond in

No. 03cr2066 MV on October 17, 2003, there was a pending investigation into Mr. George’s

disappearance that necessarily involved some degree of overlap and coordination among

several state and local law-enforcement agencies, prosecutors, and correctional authorities.

All of the Defendants in the present case, as well as [name redacted] and Ms. Robinson, had

been detained in connection with criminal charges in state court before that date, and thus it

was necessary for some if not all of the above agencies to coordinate with one another in

order to make decisions about where and under what conditions to detain the above

individuals, arrange for interviews while they were in custody, identify the offenses with

which to charge them, and identify the proper jurisdiction in which to charge them. Under

these circumstances, it is highly unlikely and not plausible that a federal prosecutor or law-

enforcement agency could have obtained police reports regarding Defendant Raymond’s

arrest by APD officers on June 29, 2002, and related criminal-history information necessary

to bringing the charge of being a felon in possession of a firearm on that date, without also

coming across some link to, or background information concerning, the RRDPS’ pending

investigation into Mr. George’s disappearance and related racketeering activity attributed to

the Aryan Brotherhood.

       B.     The Record of Proceedings in No. 03cr2066 MV Leading Up to
              the Change of Plea Hearing on October 14, 2004.

       The USAO also had occasion to learn of Defendant Raymond’s alleged affiliation

with the Aryan Brotherhood, and related criminal history, when the Honorable Martha


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Vazquez ordered the United States Probation Office (USPO) to conduct a “Form 13" pre-plea

pre-sentence investigation in No. 03cr2066 MV on May 11, 2004. [No. 03cr2066 MV, Doc.

35; Ex. 14 to Doc. 401.] That report was prepared in response to concerns about whether

Defendant Raymond’s extensive criminal history would expose him to a mandatory

minimum sentence of at least 15 years under the Armed Career Criminal Act (ACCA), 18

U.S.C. § 924(e). [No. 03cr2066 MV, Doc. 35, 42.] The pre-plea pre-sentence report

disclosed to the Court and counsel on or about July 8, 2004, indicated, among other things,

that Defendant Raymond was or became affiliated with the “AB,” an obvious abbreviation

for “Aryan Brotherhood,” during a period of incarceration which preceded his arrest on June

29, 2002.

       In addition to ordering the pre-plea pre-sentence report, Judge Vazquez heard and

ruled upon a number of motions regarding Defendant Raymond’s pretrial release in No.

03cr2066 MV. [No. 03cr2066 MV, Doc. 4, 5, 7, 12, 13, 14, 16, 17, 18, 19, 24, 25, 28, 31,

32, 33, 36, 37, 38, 40.] In those hearings, the Government vigorously contested Judge

Vazquez’s decision to release Defendant Raymond on conditions, arguing that he was a

danger to the community and a flight risk in light of his past criminal history and the

potentially lengthy sentence he was facing in No. 03cr2066 MV. Nevertheless, the Tenth

Circuit affirmed Judge Vazquez’s rulings with respect to pretrial release in an interlocutory

appeal that concluded on July 16, 2004. See United States v. Raymond, No. 04-2105 (10th

Cir. 2005) (unpublished order).




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       After the interlocutory appeal concluded and the USPO disclosed its pre-plea pre-

sentence report for Defendant Raymond in No. 03cr2066 MV, Judge Vazquez convened a

change-of-plea hearing on October 14, 2004. At that hearing, counsel produced a plea

agreement signed on that date in which Defendant Raymond agreed to plead guilty to the

crime charged in the indictment in exchange for promises from the USAO which included

an agreement that the USAO “will not bring additional charges against the defendant arising

out of the defendant’s conduct now known to the United States Attorney’s Office for the

District of New Mexico.” [No. 03cr2066 MV, Doc. 45; Ex. 1 to Doc. 308, at 5.] Assistant

United States Attorney Louis Valencia appeared for the Government at the change-of-plea

hearing.

       During the change of plea hearing, Mr. Valencia stated the factual basis for the plea

agreement using language that very closely tracks (sometimes verbatim) the police reports

prepared by APD and mentions the names of specific APD officers involved in the search

and seizure of Defendant Raymond’s person on June 29, 2002. Mr. Valencia also referred

to Defendant Raymond’s criminal history, noting that he had outstanding felony arrest

warrants, was an absconder from parole, and had several felony convictions at the time of

his arrest. At the conclusion of the change-of-plea hearing, Judge Vazquez told Defendant

Raymond that she “will accept” his plea of guilty and allowed him to continue his conditions

of release pending sentencing. [Tr. 10-14-04, Ex. 2 to Doc. 308.]

       A Sentencing Hearing was held on December 15, 2004. The main issue addressed in

the parties’ sentencing briefs and in their arguments at the sentencing hearing in No.

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03cr2066 MV was the legal question of whether Defendant Raymond’s prior convictions

qualified him as an “armed career criminal” subject to a mandatory minimum sentence of

fifteen years pursuant to 18 U.S.C. § 924(e). [No. 03cr2066 MV, Doc. 46, 49, 50.] A

subsidiary factual dispute also arose with respect to whether the Court should follow the pre-

sentence report’s recommendation for voluntary surrender.

       At the sentencing hearing on December 15, 2004, Mr. Valencia objected to the

recommendation that Defendant Raymond be given voluntary surrender. He argued that the

Pretrial Services officer who made the recommendation for voluntary surrender “was not

aware that Mr. Raymond was suspected of a murder up in Rio Rancho, New Mexico.” [Ex.

3 to Doc. 308-4, Tr. 12-15-04, at 22.] At the sentencing hearing, Mr. Valencia also referred

to a series of police reports regarding Defendant Raymond’s suspected involvement in Mr.

George’s disappearance that were sent to Judge Vazquez on December 10, 2004. [Tr. 12-15-

04, at 4, 22-24.] Such reports also were provided to Assistant Federal Public Defender

Benjamin Gonzales, the attorney who represented Defendant Raymond in No. 03cr2066 MV.

Despite these reports, Judge Vazquez permitted Defendant Raymond to voluntarily surrender

and begin serving the fifteen-year mandatory minimum sentence that she imposed in No.

03cr2066 MV. Defendant Raymond surrendered voluntarily and began his incarceration at

the Federal Correctional Institute in Florence, Colorado on February 22, 2005. [No.

03cr2066 MV, Doc. 57, 58, 60.]




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       C.     The Record of Proceedings in No. 07cr748 MCA

       The law-enforcement investigation into Mr. George’s disappearance continued after

Defendant Raymond began serving his sentence in No. 03cr2066 MV. On July 6, 2006, a

skull and jawbone later identified as that of Mr. George was discovered on a mesa west of

Albuquerque and brought to the attention of police. On July 28, 2006, and a number of

subsequent dates, Defendant Travis Dally allegedly made incriminating statements about Mr.

George’s murder to one or more undercover agents and/or confidential sources working with

the Federal Bureau of Investigation (FBI). An arrest warrant for Defendant Dally referencing

the murder investigation was issued in state court on April 16, 2007. [Ex. 3 to Doc. 377-4.]

       Two days later, on April 19, 2007, the present case began with a Sealed Indictment

[Doc. 1] charging Defendant Bradley Wasson with a single count of being a felon in

possession of a firearm during the traffic stop in Sandoval County, New Mexico on June 21,

2002. That indictment was superseded on June 20, 2007, with the result that Defendant

Raymond, as well as Defendants Wasson and Dally, are now charged with several violent

crimes in aid of racketeering that arise from the alleged kidnapping and murder of Henry

George on or about June 20, 2002 (Counts 1 through 5). Defendant Raymond, as well as

Defendants Dally and Looney, also are charged with violent crimes in aid of racketeering

that arise from the alleged attempted murder of [name redacted] on or about July 17, 2002

(Counts 7 and 8). [Doc. 36.] The Government alleges that during the times relevant to the

Superseding Indictment, all of these Defendants were associated with the “Aryan

Brotherhood,” which is alleged to constitute an “enterprise” that is engaged in “racketeering

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activity” within the meaning of the violent crimes in aid of racketeering statute. 18 U.S.C.

§ 1959(a).

       On August 19, 2008, Defendant Raymond filed a motion to dismiss all the charges

that the USAO brought against him in the Superseding Indictment [Doc. 36] in the present

case (No. 07cr748 MCA) on the grounds that the USAO’s bringing of these charges violated

the terms of his plea agreement in No. 03cr2066 MV. [Doc. 308.] In particular, Defendant

Raymond asserts that his alleged conduct giving rise to the present charges was known to the

USAO at the time he entered into his plea agreement in No. 03cr2066 MV, and therefore

falls under the plea agreement’s promise “not to bring additional charges . . . arising out of

the defendant’s conduct” the USAO knew at that time. [Ex. 1 to Doc. 308-2, at 5.]

       The Government did not file any substantive response to Defendant Raymond’s

motion to dismiss the present charges until the Court imposed a deadline of September 26,

2008. [Doc. 352, 355, 357.] On that date, the Government’s counsel asserted that “the FBI

did not have access to the state and local police reports [regarding Mr. George’s

disappearance] until November 11, 2004.” [Doc. 369, at 10.] To support this assertion, the

Government produced an FBI “Form 302" by Special Agent Theodore D. Griego indicating

(without explanation) that the state and local police reports in question were received by that

agency via facsimile from RRDPS Detective David Hubbard on November 11, 2004, less

than one month after the change-of-plea hearing. [Ex. 1 to Doc. 377-2.] It is these same

police reports, or portions thereof, that Mr. Valencia submitted to Judge Vazquez and

Attorney Benjamin Gonzales shortly before the sentencing hearing in No. 03cr2066 MV.

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Defendant Raymond filed a reply brief on October 3, 2008, disputing the Government’s

assertion that the USAO did not know of Defendant Raymond’s alleged conduct relating to

Mr. George’s disappearance until after Special Agent Griego received the police reports on

November 11, 2004. [Doc. 377.]

       D.     Evidentiary Hearings Convened on the Motion to Dismiss

       To resolve this factual dispute and hear argument on the legal basis for Defendant

Raymond’s motion, the Court set a hearing on October 24, 2008. Before that date, however,

the Government moved to quash Defendant Raymond’s subpoenas for the RRDPS files

regarding its investigation of Mr. George’s disappearance and for Mr. Valencia’s testimony

and files pertaining to his involvement in No. 03cr2066 MV. [Doc. 388, 397, 403, 405.] In

its motion to quash the subpoena pertaining to Mr. Valencia’s files and testimony, the

Government also invoked the Touhy regulations set forth at 28 C.F.R. §§ 16.21 to 16.29

(2008).

       Nevertheless, Defendant Raymond was able to present his own testimony as well as

that of Attorney Benjamin Gonzales at the hearing on October 24, 2008, pursuant to a limited

waiver of attorney-client privilege. The direct examination of Mr. Gonzales concerning his

communications with his client and Mr. Valencia in No. 03cr2066 MV consisted of the

following:

              Q.     Mr. Gonzales, did there come a time in this matter when you had
       a conversation with Mr. Raymond in your office about what he was likely to
       be looking at on his plea of guilty to felon in possession charges?

              A.     Yes.

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             Q.   Do you recall approximately when that conversation occurred?
       Do you know if it was before or after his plea?

              A.     Oh, it was certainly before his plea.

             Q.     Do you recall having a conversation with Mr. Raymond about
       how he could help himself by cooperating with the federal authorities?

              A.     Yes.

             Q.      Will you relate to the Court essentially what that conversation
       involved?

              A.     I had learned from Mr. Valencia, the prosecutor, that there was
       an investigation concerning a disappearance and possibly a murder in Rio
       Rancho. And I don’t remember. I couldn’t quote Mr. Valencia. It’s been too
       long ago.

              Q.     Okay.

               A.    But my impression was that the government was interested in my
       client, Benjamin Raymond, and Mr. Valencia inquired whether Mr. Raymond
       would be interested in cooperating, at least talking with federal authorities.

              Q.     And did you relay that interest to Mr. Raymond?

              A.     I did.

[Doc. 416, Tr. 10-24-08, at 37-38.]

       I find that Mr. Gonzales testified credibly. After Mr. Gonzales testified, Defendant

Raymond took the stand himself for the limited purpose of testifying about his understanding

of the plea agreement in No. 03cr2066 MV. On direct examination, Defendant Raymond

testified that he met with Mr. Gonzales to discuss the plea bargain that was being offered in

No. 03cr2066 MV at some point after the pre-plea pre-sentence report was completed but

before he signed the plea agreement. He further testified that he was aware of the

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Government’s promise in the plea agreement to the effect that he would not be prosecuted

for crimes arising from conduct then known to the USAO. In light of this promise,

Defendant Raymond testified that he was not concerned about being prosecuted by the

USAO for any additional crimes because he thought that all of his prior conduct was already

known to the USAO and would therefore be precluded by his plea agreement. On cross-

examination, Defendant Raymond further explained the basis for this belief as follows: “I

assumed at the time after seeing the pre-sentence report that the government knows every

single, solitary thing, including getting kicked out of the fourth grade, and that’s any conduct

I did whatsoever.” [Doc. 416, Tr. 10-24-08, at 51-52, 56.] I find that Defendant Raymond’s

testimony was credible.

       Because the Government continued to object to the subpoena for the RRDPS files as

well as the subpoena for the files and testimony of Mr. Valencia at the hearing on October

24, 2008, the Court allowed Defendant Raymond to defer presenting additional evidence in

support of his motion until further progress was made in resolving the Government’s

objections. The Court also allowed the Government to call three witnesses to testify at the

hearing on October 24, 2008, without the benefit of the requested files.

       First, RRDPS Detective David Hubbard testified that although he was actively

investigating Mr. George’s disappearance from about June 23, 2002, onward, he did not have

any contact with federal authorities investigating the death of Mr. George until November

2004, when he received a telephone call from FBI Special Agent Theodore Griego. [Doc.

416, Tr. 10-24-08, at 65-66, Doc. 416.] Detective Hubbard testified that he subsequently met

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with Special Agent Griego and an individual named Don Mangin, who was employed by the

Department of Corrections and assigned to a joint terrorism task force with the FBI. [Id. at

67.] At the direction of Special Agent Griego, Detective Hubbard also contacted ATF Agent

Paul Jessen in November 2004 to inquire about testing a firearm. [Id. at 68, 80.]

       On cross-examination, Detective Hubbard admitted that he was not the only RRDPS

detective who knew about the investigation of Mr. George’s disappearance. Detective

Hubbard also admitted that he received information about Defendant Raymond from other

sources, such as “Lieutenant Adams,” who is listed on one of the police reports as one of the

individuals who communicated with an APD officer concerning the arrest of Defendant

Raymond and Ms. Robinson on June 29, 2002. [Id. at 72-75; Ex. 2 to Doc. 377-3.]

Detective Hubbard further testified that he arranged to interview Defendant Raymond while

he was detained on the state charges arising from that arrest, which would have entailed some

communications with corrections officials or the agency responsible for detaining Defendant

Raymond at that time. [Doc. 416, Tr. 10-24-08, at 76.]

       The cross-examination of Detective Hubbard also revealed that there may have been

some delay in the preparation of his written reports. For example, Detective Hubbard’s

report concerning the follow-up interview with Ms. Robinson that occurred on July 10, 2002,

was not prepared until November 12, 2004. [Id. at 77-78.] Thus, it is reasonable to infer that

Detective Hubbard relied, at least in part, on informal oral communications to conduct his

investigation of Mr. George’s disappearance prior to the federal involvement in November

2004, when more thorough documentation was requested.

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       After Detective Hubbard’s testimony described above, the Government called ATF

Agent Jessen and FBI Special Agent Griego, both of whom corroborated Detective

Hubbard’s statement that he first communicated with them about the RRDPS investigation

into Mr. George’s disappearance in November 2004. Agent Jessen further testified that as

a result of the information Detective Hubbard provided to him at that time, he was able to

identify Defendant Wasson and [name redacted] as convicted felons. Defendant Wasson was

subsequently charged with being a felon in possession of a firearm in the present case, and

[name redacted] faced a similar charge in another case brought by the USAO in 2005. See

[case citation redacted].

       Agent Jessen also admitted, however, that he was not the case agent assigned to work

with Mr. Valencia on the felon-in-possession charge against Defendant Raymond in No.

03cr2066 MV. Rather, the ATF case agent in No. 03cr2066 MV was Phil Foutz, who was

not called as a witness at any of the hearings on Defendant Raymond’s motion to dismiss the

charges in No. 07cr748 MCA. Despite the fact that he was not the case agent in No.

03cr2066 MV, Agent Jessen testified that he brought the RRDPS reports regarding the

investigation of Mr. George’s disappearance to the attention of Mr. Valencia in November

2004. [Id. at 89-91.] Agent Jessen admitted on cross-examination that he did not know for

sure how the felon-in-possession charge against Defendant Raymond in No. 03cr2066 MV

was referred to the ATF for federal prosecution in the first place, but he believed that it was

assigned to Agent Foutz by an ATF supervisor, who apparently received the referral from

some other agency such as APD. [Id. at 92-93.]

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       FBI Special Agent Griego testified that he was the one who referred Detective

Hubbard to ATF Agent Jessen in November 2004. Agent Griego testified that he first met

Detective Hubbard through a “cold call” the agent initiated earlier in the month of November

2004 while engaged in a “general canvassing” for information concerning alleged Aryan

separatist groups, including the Aryan Brotherhood. But Special Agent Griego did not meet

or contact Mr. Valencia during that time frame, because the agent was working with a

different group of attorneys in the Las Cruces, New Mexico division of the USAO. [Id. at

95-96, 98.]

       While Special Agent Griego and Agent Jessen both testified that they first learned

about and joined the law-enforcement investigation into the disappearance of Mr. George in

November 2004, such testimony does not preclude a reasonable inference that other

personnel in the USAO and in federal law enforcement agencies could have--and did--learn

about the investigation into Mr. George’s disappearance before Defendant Raymond entered

his plea agreement in No. 03cr2066 MV on October 14, 2004. For example, the fact that

Agent Jessen forwarded certain police reports to Mr. Valencia for the first time in November

2004 does not mean that Mr. Valencia or others in the USAO had no access to the

information contained in those reports before that date. Among the reports that Agent Griego

and Agent Jessen received from Detective Hubbard in November 2004 was the same APD

report regarding the arrest of Defendant Raymond and Ms. Robinson on June 29, 2002, that

was included in the discovery materials that Mr. Valencia produced to Mr. Gonzales in No.

03cr2066 MV on December 2, 2003. [Ex. 2, Ex. 8 to Doc. 380.] While that APD report does

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not specifically reference Ms. Robinson’s involvement in the investigation of Mr. George’s

disappearance, one of the authors of that report (Officer Power) had a conversation about Ms.

Robinson with RRDPS Lieutenant Noel Adams that is documented in Lieutenant Adams’

supplemental report regarding the investigation of Mr. George’s disappearance. [Ex. 2 to

Doc. 377-3.] As Officer Power was the one who first discovered a firearm in Defendant

Raymond’s possession on June 29, 2002, it was obvious that he was going to be a primary

fact witness for the Government in No. 03cr2066 MV. Indeed, Mr. Valencia specifically

mentioned Officer Power by name when reciting the factual basis for Defendant’s guilty plea

in No. 03cr2066 MV on October 14, 2004. [Ex. 2 to Doc. 308, Tr. 10-14-04, at 15-19.] By

interviewing him as part of routine discovery or trial preparation, the USAO or ATF case

agent readily would have learned of Officer Power’s communications with Lieutenant

Adams and made the connection among Defendant Raymond, Ms. Robinson, the

investigation into Mr. George’s disappearance, and the alleged racketeering activities of the

Aryan Brotherhood.

       When the motion hearing reconvened on January 5, 2009, the Government withdrew

its prior objections to calling Mr. Valencia as a witness and also withdrew its prior invocation

of the Touhy regulations with respect to the production of the RRPDS files regarding Mr.

George’s disappearance and the USAO’s files regarding Mr. Valencia’s prosecution of

Defendant Raymond in No. 03cr2066 MV. Instead, the Government produced redacted

versions of these files to Defendant Raymond’s counsel and asked the Court to conduct an

in camera review of the propriety of such redactions.

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       In his testimony at the hearing on January 5, 2009, Mr. Valencia acknowledged that

he prepared a proposed plea agreement and submitted it to Defendant Raymond’s counsel

on April 28, 2004. The plea agreement contained what Mr. Valencia described as a mere

“boilerplate provision” that was drafted and consistently used by the USAO; this provision

stated that the USAO “will not bring additional charges against the defendant arising out of

the defendant’s conduct now known to the United States Attorney’s Office for the District

of New Mexico.”2 [Ex. 1 to Doc. 308, at 5.] Mr. Valencia further acknowledged that on

October 14, 2004, Defendant Raymond entered a guilty plea pursuant to a plea agreement

containing that same provision proposed and drafted by the USAO. According to Mr.

Valencia, it was his understanding at the time he entered into the plea agreement that this

provision was only meant to cover the offense conduct for June 29, 2002, i.e., the day

Defendant Raymond was arrested for possessing the firearm that is the subject of the

indictment in No. 03cr2066 MV, even though there was no express language to this effect

in the plea agreement and Mr. Valencia never told Mr. Gonzales or Defendant Raymond of

this understanding. [Doc. 497, Tr. 1-5-09, at 7-9, 13-16, 41-42.]

       Mr. Valencia testified that he was “made aware of” information regarding Defendant

Raymond’s “connection to a missing person” after Defendant Raymond’s guilty plea in

2004, but he did not remember exactly how he was made aware of such information. Mr.



       2
         As discussed later in this Memorandum Opinion and Order, the Court takes judicial notice
that the USAO uses plea agreements which contain language that varies from the “boilerplate”
identified by Mr. Valencia, and the language used by federal prosecutors in other districts is not
uniform with respect to this issue.

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Valencia did recall, however, that he had a conversation with ATF Agent Paul Jessen in

which he asked Agent Jessen to get him some reports. According to Mr. Valencia, such

reports were then faxed to him on November 10, 2004, and he later forwarded him to Mr.

Gonzales (Defendant Raymond’s counsel in No. 03cr2066 MV) on December 8 or December

9, 2004. [Doc. 497, Tr. 1-5-09, at 9-11.]

       In response to cross-examination and questions from the Court, Mr. Valencia stated

that he did not recall any conversations with Mr. Gonzales prior to the plea hearing in

October 2004 concerning Defendant Raymond’s involvement or possible involvement in the

suspected murder in Rio Rancho. [Id. at 34-35.] Mr. Valencia did acknowledge, however,

that at the time he was contemplating bringing the felon-in-possession charge in No.

03cr2066 MV, he knew that “they had tried to pass some checks . . . from Wells Fargo” and

was concerned that there was “some kind of organized fraud going on.” But he didn’t pursue

the fraud charges and interpreted the plea agreement as precluding the USAO from

subsequently charging Defendant Raymond with “[c]onspiracy to commit the fraud” that

allegedly occurred on June 29, 2002. [Id. at 28, 35-36, 39.]

       The Court finds that by the time the pre-plea pre sentence report was disclosed in No.

03cr2066 MV (on July 8, 2004, a date well in advance of the change of plea hearing held on

October 14, 2004), Mr. Valencia also must have known of Defendant Raymond’s reported

association with the Aryan Brotherhood. However, Mr. Valencia attempted to minimize this

knowledge by testifying that Defendant Raymond’s association with the Aryan Brotherhood

was not significant to him. In this regard, Mr. Valencia explained that: “A lot of times the

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agencies will tell you, ‘Well, he’s a member of this gang. He’s a member of that.’ And a lot

of times that’s just a reason to sell the case to us.” [Id. at 29; see also id. at 35-36, 38-39.]

Further, while the “Form 13" pre-plea pre-sentence report made an obvious reference to

Defendant Raymond’s involvement in the Aryan Brotherhood, Mr. Valencia testified that he

deemed that information unimportant.3

       With regard to the procedure by which agencies would “sell” a case to the USAO for

federal prosecution, Mr. Valencia further explained that “Project Exile,” as referenced in one

of the APD reports regarding Defendant Raymond’s arrest on June 29, 2002 [Ex. 2 to Doc.

380], involved a series of monthly meetings between the USAO and the District Attorney’s

Office in Bernalillo County. At such meetings, those in attendance would go over reports

for the purpose of identifying cases which warranted federal prosecution by the USAO or

further follow up by the ATF. According to Mr. Valencia, “Project Exile” also involved

instances where “the local police department would call ATF and ask them to present the

case to the U.S. Attorney’s Office.” In addition, there was a “Violent Crime Impact Task

Force, where the ATF was embedded into a task force that APD had.” [Doc. 497, Tr. 1-5-09,

at 33.] Mr. Valencia stated that he was “not sure” whether he discussed any charges or

criminal history relating to Defendant Raymond’s arrest on June 29, 2002, with the District

Attorney’s Office, but he acknowledged that reports relating to that arrest might have been


       3
        As explained later in this Memorandum Opinion and Order, information concerning
Defendant Raymond’s gang affiliation and his involvement in a larger conspiracy to commit
“organized fraud” is of great significance, because this type of conduct relates to the essential
elements of any conspiracy or racketeering charges that the USAO might wish to bring against this
Defendant.

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brought to his attention during one of the “Project Exile” meetings. [Id. at 43-44.] The APD

report cited above indicates more definitively that the information contained therein was sent

to the USAO through “Project Exile,” as it affirmatively states that charges “would be

forthcoming from the U.S. Attorneys Office” as a result of this communication. [Ex. 2 to

Doc. 380, at Bates No. 000034.]

       At the conclusion of Mr. Valencia’s testimony at the hearing on January 5, 2009, the

parties indicated they had no further evidence to present but requested the opportunity to

submit supplemental briefing. The transcript of that hearing was filed and made available

to counsel on January 6, 2009 [Doc. 497], and the parties each filed a supplemental brief on

January 15, 2009. [Doc. 502, 503.]

II.    ANALYSIS

       A.     Defendant Raymond’s Motion to Dismiss

       Our criminal-justice system encourages plea-bargaining, in which criminal defendants

agree to plead guilty to one or more offenses in exchange for promises by the government

with respect to sentencing and additional charges. Although defendants may waive or forfeit

several important rights as a result of pleading guilty, the fact that they admit committing a

serious crime, or stand accused of committing more serious crimes, does not necessarily

mean that they lose the ability to obtain the benefits for which they bargained in their plea

agreements with the government. On the contrary, such plea bargains can become legally

enforceable contracts that bind both the defendant and the government, and the law requires




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the government to keep the promises it has made in a plea agreement after a defendant pleads

guilty in accordance with the agreement.

       In this case, Defendant Raymond asks the Court to enforce his plea agreement in No.

03cr2066 MV by dismissing the present charges against him in No. 07cr748 MCA.

Defendant Raymond’s motion to dismiss presents both a factual question and a legal

question. The legal question is whether any of the present charges contained in the

Superseding Indictment fall within the scope of the USAO’s promise in the earlier plea

agreement that it “will not bring additional charges against the defendant arising out of the

defendant’s conduct now known to the United States Attorney’s Office for the District of

New Mexico.” [Ex. 1 to Doc. 308, at 5.] The factual question is whether or to what extent

the USAO knew about the ongoing investigations of Defendant Raymond’s conduct in

relation to the disappearance of Henry George, the attempted murder of [name redacted], the

racketeering activities of the Aryan Brotherhood, and/or Defendant Raymond’s involvement

in that organization at the time the parties entered into the plea agreement in No. 03cr2066

MV.

       In essence, from the Defendant’s perspective, the contractual terms of the plea

agreement should be strictly enforced. From the government’s perspective, the language at

issue, though undisputedly written with the broad stroke of a pen, constitutes mere

“boilerplate” language, carrying no special or significant meaning. From my review, I

conclude that the language of the plea agreement at issue here is not mere “boilerplate”

language or “legalese.” Rather, it is the very essence of the agreement.

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       Therefore, for the reasons set forth below, I find by a preponderance of the evidence

that the USAO did have knowledge of the conduct described above and that such knowledge

was timely and sufficient enough to invoke the provision in Defendant Raymond’s plea

agreement which precludes the USAO from bringing additional charges arising out of that

conduct. I also determine that the provision of the plea agreement at issue here is worded

broadly enough to encompass the present charges against Defendant Raymond and that he

reasonably understand this provision to preclude the USAO from filing such charges against

him. Under these circumstances, I conclude that Defendant Raymond has met his burden of

establishing the grounds upon which the present charges against him must be dismissed

without prejudice.

              1.     Standard of Review

       While the Court’s determination of the nature and extent of the government’s

obligations under a plea agreement is generally guided by principles of contract law, see

United States v. Cachucha, 484 F.3d 1266, 1270 (10th Cir.2007), such a determination also

is informed by constitutional and supervisory concerns which can, in some instances, require

a court to hold the government to a higher standard than a private contractor, see 5 Wayne

R. LaFave et al., Criminal Procedure §21.2(d), at 602-04 (3d ed. 2007). Because important

due-process rights are involved, the Court cannot rely on the government’s unilateral

declarations as to whether a breach of the plea agreement has occurred. See United States

v. Guzman, 318 F.3d 1191, 1196-97 (10th Cir. 2003). Rather, “[i]f the pleadings reveal a

factual dispute on the issue of breach, the district court must hold a hearing to resolve the

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factual issues,” and provide the defendant with “an adequate opportunity to respond to the

government’s pleadings on the issue of breach.” United States v. Calabrese, 645 F.2d 1379,

1390 (10th Cir. 1981).

       At such a hearing, “the party who asserts a breach of a plea agreement has the burden

of proving the underlying facts that establish a breach by a preponderance of the evidence.”

Allen v. Hadden, 57 F.3d 1529, 1534 (10th Cir. 1995). When, as here, a defendant asserts

a breach of a plea agreement based on allegations which may require the discovery of

information or evidence in the possession of the government or its agents, the Defendant may

meet his burden of proof without producing “direct evidence” such as written admissions that

“explicitly mention” the breach. Id. at 1537. Under these circumstances, a defendant may

instead use “indirect evidence” to support an inference that the plea agreement was breached,

“even though he can identify no ‘smoking gun.’” Id.

       If Defendant Raymond meets his burden of proving by a preponderance of the

evidence that the USAO had the requisite knowledge of the conduct from which present

charges arise, and if such knowledge brings any of the present charges within the scope of

the USAO’s promise in the earlier plea agreement, then as a matter of law that promise is

enforceable against the USAO. In this regard, our Supreme Court has long held that where

the government obtains a guilty plea that “rests in any significant degree on a promise or

agreement of the prosecutor, so that it can be said to be part of the inducement or

consideration, such promise must be fulfilled” to maintain the integrity of the plea.

Santobello v. New York, 404 U.S. 257, 262 (1971). The Tenth Circuit has similarly

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concluded that “[b]ecause a government that lives up to its commitments is the essence of

liberty under law, the harm generated by allowing the government to forego its plea bargain

obligations is one which cannot be tolerated.” United States v. Brye, 146 F.3d 1207, 1210

(10th Cir.1998) (internal quotation marks and citations omitted). In more practical terms,

“[i]t is critical that the government stand by its agreements . . . in order to encourage plea

bargaining.” United States v. Cooper, 70 F.3d 563, 567 (10th Cir. 1995).

       The duty of the government to “live up to its commitments” continues after a plea

agreement is accepted and a defendant appears for sentencing. In this regard, the Tenth

Circuit has explained that:

       The prosecutor has many ethical duties, including ethical duties of deciding
       what charges to bring and what plea agreements to make. When those
       agreements are made with full knowledge of the facts at hand, those
       agreements should be . . . “fulfilled to maintain the integrity of the plea,” not
       to mention the integrity of the government. If at a later date the government
       discovers facts that cause it to believe that its prosecutorial discretion was not
       properly exercised, it has the ethical obligation to withdraw from the plea
       agreement and advise the defendant so that he or she may prepare for trial or
       renegotiate. It is certainly not proper for the government to wait until the
       sentencing hearing then breach the terms of the plea agreement, shielding its
       behavior by claiming its obligation to be an ethical officer of the court.

Cooper, 70 F.3d at 567 (quoting United States v. Hand, 913 F.2d 854, 856 (10th Cir. 1990));

accord United States v. Hawley, 93 F.3d 682, 693 (10th Cir. 1996). Similarly, the

government cannot avoid its obligations under a plea agreement by “rely[ing] upon a ‘rigidly

literal construction of the language’ of the agreement, nor may it accomplish ‘through

indirect means what it promised not to do directly.’ ” Hand, 913 F.2d at 856 (quoting United

States v. Shorteeth, 887 F.2d 253, 256 (10th Cir.1989)).

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               2.     Interpreting the Terms of the Plea Agreement

       With these principles in mind, the Court “look[s] first to the express terms of the

agreement.” United States v. Werner, 317 F.3d 1168, 1170 (10th Cir. 2003) (citing Brye,

146 F.3d at 1210). Under principles of contract law, effect must be given to every provision

of an agreement, see Parker v. United States, 448 F.2d 793, 797 (10th Cir.1971), and it must

be construed as a whole, see FDIC v. Canfield, 967 F.2d 443, 446 (10th Cir.1992). “It is a

cardinal rule of construction ... that effect should be given, if possible, to every word, phrase,

clause, and sentence.” Salt Lake County v. Utah Copper Co., 93 F.2d 127, 133 (10th

Cir.1937).

       Accordingly, the Court must examine each of the relevant words and phrases in

Defendant Raymond’s plea agreement in No. 03cr2066 MCA to determine their meaning and

context. The section of the plea agreement in dispute is entitled “Government’s Agreement,”

and it sets forth the government’s promises as follows:

              10.   Provided that the defendant fulfills his obligations as set out
       above, the United States agrees that:

                      a.    The United States will not bring additional charges
       against the defendant arising out of the defendant’s conduct now known to the
       United States Attorney’s Office for the District of New Mexico.

               11.    This agreement is limited to the United States Attorney’s Office
       for the District of New Mexico and does not bind any other federal, state, or
       local agencies or prosecuting authorities.

[No. 03cr2066 MV, Doc. 45, attached as Ex.1 to Doc. 308 in No. 07cr748 MCA.]




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       Other courts have interpreted plea agreements which define the scope of a

prosecutor’s promise not to file other charges, but most of the reported case law interpreting

these types of agreements is directed at disputes over whether such promises extend to other

agencies or the government as a whole. See, e.g., Allen, 57 F.3d at 1535 (citing United

States v. Harvey, 791 F.2d 294 (4th Cir. 1986)). There is no such dispute here, as the

language of Defendant Raymond’s plea agreement in No. 03cr2066 MV expressly provides

that the USAO’s promises do “not bind any other federal, state, or local agencies or

prosecuting authorities.”

       This limiting language does not end the Court’s inquiry, for it is also beyond dispute

that the United States Attorney’s Office for the District of New Mexico (USAO) is the same

federal agency that has brought additional charges against Defendant Raymond in the

Superseding Indictment filed in the present case (No. 07cr748 MCA). Thus, the plea

agreement’s reference to “additional charges against the defendant” was meant to encompass

the type of charges that have been filed against Defendant Raymond in the present case, i.e.,

charges brought by the USAO.

       Whether the plea agreement precludes the USAO from bringing these additional

charges depends on whether they “aris[e] out of conduct . . . known to” the USAO at the

relevant time. Other courts have grappled with similar questions about whether a particular

charge is encompassed by a prosecutor’s earlier promises in a plea agreement. See, e.g.,

United States v. Jordan, 509 F.3d 191, 195 (4th Cir. 2007) (interpreting a plea agreement in

which the government promised not to “further criminally prosecute” a defendant “for the

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specific conduct described in the indictment or statement of facts”); United States v. Grap,

368 F.3d 824, 827 (8th Cir. 2004) (interpreting a plea agreement in which the government

promised not to “further prosecute” a defendant “based on the information and evidence now

available to the United States regarding [his] involvement with regard to the two factual

scenarios underlying the two counts of the indictment”); United States v. Clark, 218 F.3d

1092, 1094 (9th Cir. 2000) (interpreting a plea agreement in which the government promised

that “no other charges will be filed against defendant in connection with this investigation”).

       The relevant language in Defendant Raymond’s plea agreement in No. 03cr2066 MV

is broader and more ambiguous than the language at issue in the cases cited above, because

it does not limit the USAO’s promise to specific conduct described in a particular document

or to charges arising from a particular investigation or factual scenario. Rather, the plea

agreement at issue here precludes additional charges arising out of all conduct known to the

USAO at the relevant time.

              3.     The Scope of Conduct “Now Known To” the USAO

       In order to resolve the ambiguity entailed by this broad language, the Court must

determine what is meant by the phrase “now known to” the USAO. In his supplemental brief

[Doc. 502], Defendant Raymond asserts that the word “now” in this phrase should refer to

the date of his sentencing, at which time Judge Vazquez accepted the plea agreement. If the

Court were to construe the plea agreement in this manner, then there is no question that the

USAO knew of the written reports detailing Defendant Raymond’s alleged involvement in

Mr. George’s disappearance by that date, because Mr. Valencia specifically referenced those

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reports at the sentencing hearing and in his sentencing correspondence with the Court and

opposing counsel in No. 03cr2066 MV. The Government, however, contends that the word

“now” in Defendant Raymond’s plea agreement instead refers to October 14, 2004, the date

on which he signed the plea agreement and entered his plea of guilty in No. 03cr2066 MV.

       The weight of authority supports the Government’s view that October 14, 2004,

should be used as the relevant date for purposes of determining the parties’ knowledge and

understanding of the plea agreement. See Brye, 146 F.3d at 1210 (construing terms of a plea

agreement “at the time the guilty plea was entered”); Grap, 368 F.3d at 827-28 (construing

the word “now” as “the effective date of the plea agreement” and noting the dates on which

the plea agreement was signed and filed, as well as the date on which the defendant pleaded

guilty); United States v. Sutton, 794 F.2d 1415, 1422-23 (9th Cir. 1986) (determining the

state of the government’s knowledge as of the date on which the defendant pleaded guilty).

While Defendant has submitted contrary authority suggesting a temporal distinction between

a court’s acceptance of a defendant’s guilty plea and a court’s acceptance of a plea

agreement, see D.N.M. LR-Crim. 11.2; United States v. Hyde, 520 U.S. 670, 674 (1997),

such authority is not persuasive in this context because a federal court’s role with respect to

accepting a plea agreement is primarily directed at extra-contractual concerns that arise under

the Due Process Clause, such as ensuring that a defendant’s plea is knowing and voluntary

in accordance with Fed. R. Crim. P. 11. Cf. 5 Wayne R. LaFave et al., Criminal Procedure,

supra, §21.2(d), at 602-04 (discussing the due-process aspects of plea bargaining). Apart

from ensuring that a defendant receives the process that is due under this rule, federal courts

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take no active role in the negotiation or formation of a plea agreement. See id. § 21.3(d), at

746-47 (citing Fed. R. Crim. P. 11(c)(1)).

       In the circumstances presented here, I therefore conclude that any contingencies

related to obtaining final court approval of the plea agreement do not preclude the parties

from forming an enforceable contract that was meant to become binding with respect to the

USAO’s knowledge as of October 14, 2004, the date by which both parties signed the plea

agreement and Defendant Raymond entered his plea of guilty pursuant to that agreement.

It would be illogical to hold that the Government’s promises in a plea agreement do not take

effect until the time that a court finally accepts the plea agreement at the conclusion of a

sentencing hearing, because many of those promises concern what the Government is going

to do before or during the sentencing hearing (e.g., recommend a lower sentence or allow a

defendant to argue for a downward departure). To the extent that such a promise is intended

to account for contingencies that occur after the signing of the agreement or the entry of the

guilty plea, one would expect the plea agreement to contain specific language in that regard

(e.g., references to what the parties have bargained for with respect to a subsequent appeal

or in the event that new information arises in a pre-sentence report). See, e.g.,United States

v Balderrain, No. 08-8016, 2009 WL 205631 (10th Cir. Jan. 29, 2009) (unpublished order

and judgment citing a plea agreement that made the Government’s promises effective “once

the state court accepts Mr. Belderrain’s plea agreement”). The provision of Defendant

Raymond’s plea agreement in No. 03cr2066 MV at issue here lacks such a specific reference

to a subsequent time period, and for the reasons set forth above, I conclude that the effective

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date for purposes of determining the parties’ knowledge and understanding of the agreement

is October 14, 2004.

       This conclusion does not end the Court’s inquiry, for there is plenty of evidence in the

record from which to draw the inference that the USAO knew before that date of conduct by

Defendant Raymond that gave rise to the present charges in No. 07cr748 MCA. To defeat

this inference, the Government asks the Court to adopting a rigidly literal construction of the

term “known,” such that the USAO’s promises in Defendant Raymond’s plea agreement in

No. 03cr2066 MV apply only to the extent that the USAO knew “for sure” that Defendant

Raymond committed each element of a particular crime (such as murder or kidnapping) at

the time the plea agreement was signed. Mr. Valencia’s testimony at the hearing on January

5, 2009, goes a step further and asks the Court to interpret the plea agreement in light of Mr.

Valencia’s assumption or understanding that the language in question applies only to conduct

that occurred during the incident leading to Defendant Raymond’s arrest on June 29, 2002,

even though such an assumption or understanding was never communicated to Defendant

Raymond or his counsel at the time the plea agreement was signed.

       I reject such narrow interpretations of Defendant Raymond’s plea agreement because

they fail to account for his alleged conduct in relation to all elements of the crimes charged

in the present case and are contrary to established precedent in this circuit. See Hand, 913

F.2d at 856; Shorteeth, 887 F.2d at 256. In this context, our Tenth Circuit has repeatedly

stated that ambiguities in a plea agreement are to be construed against the drafter of the




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agreement. See, e.g., Cachucha, 484 F.3d at 1270; Werner, 317 F.3d at 1170; Guzman, 318

F.3d at 1195; Brye, 146 F.3d at 1210.

       The evidence submitted in response to Defendant Raymond’s Motion to Dismiss [Doc.

308] in the present case indicates that the Government was the drafter of the plea agreement

in No. 03cr2066 MV. The language now at issue first appeared in the draft that Mr. Valencia

submitted to Defendant Raymond’s counsel on or about April 28, 2004, and there is no

indication that Defendant Raymond or his counsel sought or were given the option of

changing this language. [Ex. 4 to Doc. 380.] While the Court acknowledges Mr. Valencia’s

testimony that the language used in Defendant Raymond’s plea agreement is consistent with

what the USAO has used in other cases, see, e.g., United States v. Trujillo, 537 F.3d 1195,

1197 n.2 (10th Cir. 2008), I also find that Mr. Valencia was incorrect in suggesting that such

language is “boilerplate” that uniformly appears in all of the USAO’s plea agreements.

       In this regard, I note that the USAO has added other provisions to its plea agreements

when it wishes to limit the scope of the promise at issue here. For example, the USAO used

different language in its plea agreement with Ms. Robinson, the same individual who was

arrested with Defendant Raymond during the incident at the car dealership on June 29, 2002.

See, e.g., United States v. Robinson, No. 05cr1321 JEC, Doc. 27 (D.N.M. plea agreement

filed May 17, 2006) (agreeing “not to bring additional charges against the defendant arising

out of the defendant’s conduct now known to the United States Attorney’s Office for the

District of New Mexico, with the exception of any and all participation in crimes of

violence”) (emphasis added). I also note that United States Attorneys in other districts use

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different language to describe their promises with respect to not bringing additional charges.

See, e.g., Jordan, 509 F.3d at 195 (limiting the scope of this promise to “the specific conduct

described in the indictment or statement of facts”); Grap, 368 F.3d at 827 (limiting the scope

of this promise to “the two factual scenarios underlying the two counts of the indictment”);

Clark, 218 F.3d at 1094 (limiting the scope of this promise to “this investigation”). Because

the USAO was the drafter of Defendant Raymond’s plea agreement in No. 03cr2066 MV and

there was no restriction on its ability to limit the scope of its promises as noted in the

examples provided above, I conclude that the ambiguities in this plea agreement are to be

construed against the USAO.

       In further analyzing the terminology used in Defendant Raymond’s plea agreement,

the Court must view such terms “in light of the defendant’s reasonable understanding of the

promise at the time the guilty plea was entered.” Brye, 146 F.3d at 1210 (emphasis added);

accord United States v. Van Dam, 493 F.3d 1194, 1199 (10th Cir.2007). Accordingly, the

Court may look to statements made at the change-of-plea hearing to illuminate the parties’

understanding of the plea agreement, see, e.g., Brye, 146 F.3d at 1212, or analyze statements

made at sentencing to determine a party’s intentions with respect to complying with the

agreement, see, e.g., Cachucha, 484 F.3d at 1270. In this instance, I find it noteworthy that

Defendant Raymond’s plea agreement contains no promises by the USAO as to a particular

sentence that he would receive in No. 03cr2066 MV. Rather, the type of plea agreement at

issue here places more focus on a “plea of guilty to one charge in exchange for the




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prosecutor’s promise to drop or not to file other charges.” 5 Wayne R. LaFave et al.,

Criminal Procedure, supra § 21.1(a), at 522.

       With respect to sentencing, Judge Vazquez ordered the United States Probation Office

to investigate and prepare a “Form 13" pre-plea pre-sentence report; the parties then

proceeded to litigate whether Defendant Raymond was still subject to a mandatory minimum

sentence under the Armed Career Criminal Act (ACCA), 18 U.S.C. § 924(e)(1), given our

Supreme Court’s ruling in Blakely v. Washington, 542 U.S. 296 (2004), and its progeny.

Because Defendant Raymond’s sentence depended on the applicability of the mandatory

provisions of the ACCA, the “acceptance of responsibility” points that he earned from

pleading guilty, as well as the Government’s promise to recommend the lower end of the

appropriate guideline range, did not play as big a role as they normally would in a case that

turns on a discretionary application of the United States Sentencing Guidelines.

       Under these circumstances where the Court’s sentencing options are quite limited, the

promise of not filing “additional charges” takes on greater significance as the primary

consideration that the USAO provided in exchange for Defendant Raymond’s guilty plea to

the charge of being a felon in possession of a firearm. It was thus reasonable for him to

understand this promise as more than just boilerplate technical language in his case. Rather,

it was the very essence of the agreement.

       Such an understanding finds further support in the record of the hearings which

preceded Defendant Raymond’s guilty plea, when the USAO vigorously contested Judge

Vazquez’s decision to release Defendant Raymond on conditions. During the hearing on the

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motion which resulted in Defendant Raymond’s pretrial release, for example, Mr. Valencia

stated that “Mr. Raymond has a terrible criminal history . . . from 1994 to the present,”

evincing “repeated failures to comply with conditions of his State probation and his failure

to comply with those conditions of release, plus the fact that he is a multiple convicted

felon.” At that hearing, Mr. Valencia further asserted “the facts are that he is a dangerous

criminal” and “a violent criminal” who “is a danger to the community.” [Ex. 15 to Doc. 401,

Tr. 5-4-04, at 11-14.] While Mr. Valencia did not present specific evidence in support of

these contentions at that time, his remarks could reasonably lead Defendant Raymond to

believe that the USAO did in fact know of other conduct which could give rise to additional

charges if he did not accept the plea offer.

       Although it does not specifically mention the investigation of the Henry George

matter, the pre-plea pre-sentence report that Defendant Raymond reviewed before pleading

guilty in No. 03cr2066 MV also supports a reasonable belief on his part that the USAO had

extensive knowledge of his criminal history and background which could be used to bring

additional charges if he did not sign the plea agreement. In this regard, Defendant Raymond

credibly testified at the hearing on October 24, 2008, that he assumed “the government

knows every single solitary thing including getting kicked out of the fourth grade.” [Doc.

416, Tr. 10-24-08, at 51-52, 56.]

       Construing the broad language in the plea agreement in light of the Defendant’s

reasonable understanding at the time the guilty plea was entered, I further conclude that the

USAO’s promise not to bring additional charges against Defendant Raymond is not limited

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to crimes occurring on a single date or specific offenses for which the USAO had certain

knowledge as to each essential element at the time the plea agreement was accepted. As

noted above, I reject Mr. Valencia’s assumption or unilateral understanding that the plea

agreement was limited to conduct occurring on June 29, 2002, because that assumption or

understanding does not appear in the express language of the plea agreement and was never

communicated to Defendant Raymond or his counsel. Thus, it does not provide a basis for

the Defendant’s reasonable understanding of the agreement at the time it was entered. See

Brye, 146 F.3d at 1210.

       Further, such a narrow interpretation of the plea agreement fails to account for

alternative connotations of the verb “to know.” As noted in the dictionary definition cited

in the government’s response brief, the term “knowledge” has several meanings, each of

which may imply a different degree of certainty. At one end of the spectrum, the term

“knowledge” may refer to a specific mental state which is required to render a witness

competent to testify about a matter in accordance with the Federal Rules of Evidence, or

which must be proven beyond a reasonable doubt to convict a defendant of a particular

crime. Such use of the term would not make sense in the context presented here, because the

standard of proof is a preponderance of the evidence, see Allen, 57 F.3d at 1534, and the plea

agreement refers to the knowledge of the USAO as a whole rather than a single individual

who works there. Under these circumstances, it would be an empty and illusory promise

merely to guarantee that the USAO will not prosecute a defendant for conduct of which a

particular prosecutor within that office has direct, personal knowledge as an eyewitness.

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       In the context presented here, it is more reasonable to infer that the reference to the

USAO’s “knowledge” in the plea agreement was meant to include the results of an

investigation reported to that agency by a witness or third party. See, e.g., Sutton, 794 F.2d

at 1424 (concluding that the government had “actual knowledge” that a defendant had

purchased a cashier’s check when a bank teller “tentatively identified a photograph of [the

defendant] as the person who had purchased the check”); id. at 1424-25 (concluding that the

government had “actual knowledge” that a defendant transported a particular load of

marijuana when a fellow inmate of the defendant told a government agent that the defendant

had admitted doing so). Such use of the verb “to know” is consistent with ordinary

dictionary definitions such as “to have acquaintance or familiarity with through experience

or acquisition of information or hearsay,” or simply “to have information.” 2 Webster’ Third

New International Dictionary 1252 (1981).

       Because the plea agreement refers to conduct “known to” the USAO rather than a

particular individual, it is also reasonable to construe the agreement as covering all

information acquired by the USAO as a whole, regardless of whether such information was

actually communicated from one individual within the office to another. In this regard, our

Supreme Court has determined that “[t]he staff lawyers in a prosecutor’s office have the

burden of ‘letting the left hand know what the right hand is doing’ or has done. That the

breach of agreement was inadvertent does not lessen its impact.” Santobello, 404 U.S. at

499. Thus, the knowledge of one prosecutor may be attributed to other staff members in the

USAO even though such an attribution may have unintended consequences. See Giglio v.

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United States, 405 U.S. 150, 154-55 (1972). The USAO is charged with “‘knowledge of the

facts at hand,’” even if through some inadvertent mistake the prosecutor handling the plea

negotiations is not personally familiar with the results of an investigation monitored by

another staff member within the office. Hawley, 93 F.3d at 693 (quoting Cooper, 70 F.3d

at 567). To hold otherwise would allow the USAO to “accomplish ‘through indirect means

what it promised not to do directly,’” Id. at at 692 (quoting Hand, 913 F.2d at 856), for it

would allow the USAO to avoid its obligations under the type of plea agreement at issue here

by dividing its responsibilities so that prosecutors involved in plea negotiations are screened

from investigations communicated to other staff members.

       This conclusion does not mean that the USAO is charged with constructive knowledge

of every fact that any federal, state, or local government official could have known at the

relevant time through more diligent and careful investigation. “[T]he words ‘conduct known

to the government’ cannot be fairly construed as ‘conduct that reasonably could have been

known’” to the government if its investigation had been more timely or thorough. Sutton,

794 F.2d at 1423. While allegations of unreasonable pre-indictment delay in investigating

a matter may raise due-process concerns of their own, see, e.g., Grap, 368 F.3d at 829, such

concerns do not transform the language of the plea agreement at issue here into a negligence

standard that can be used to hold government agencies accountable for not pursuing a more

diligent or careful investigation at the time the plea agreement was accepted.




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              4.     The Distinction Between “Crimes” and “Conduct”

       Nevertheless, the scope of the actual knowledge at issue here is still quite broad

because Defendant Raymond’s plea agreement in No. 03cr2066 MCA is not limited to a

particular “crime” or “additional charges” that were known to the USAO. Rather, the plea

agreement refers to “conduct” known to the USAO.

       The term “crime,” which does not even appear in this section of the plea agreement,

“is a much narrower concept than ‘conduct.’” Jordan, 509 F.3d at 196. “Crime” is a legal

term of art which the dictionary defines as “‘act that the law makes punishable,’” and which

requires proof of a combination of specific elements. Id. (quoting Black’s Law Dictionary

399 (8th ed. 2004)). “Conduct, in contrast, is ‘personal behavior, whether by action or

inaction’ and is a term that transcends the legal context.” Id. (quoting Black’s Law

Dictionary, supra, at 315). Crimes are analytically and conceptually distinct from conduct

because a given instance of conduct may cause a person to be liable for multiple crimes, and

a given crime may require proof of several distinct instances of conduct. See id. Thus, in

construing the plea agreement, it is important to avoid conflating the word “conduct” with

the word “crime.”

       Here the plea agreement refers to charges “arising out of” Defendant Raymond’s

conduct. The phrase “arising out of” has a variety of meanings which are dependent on its

context. See 1 Webster’s Third New International Dictionary 117 (1981) (listing eight

separate definitions for the word “arise”). In the context presented here, this phrase is used

in a historical or causal sense, meaning “to originate from a specified source.” Id.

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       For these reasons, the applicability of the USAO’s promise not to bring additional

charges against Defendant Raymond does not hinge on whether the USAO knew at a

particular time that he committed each and every element of a particular crime such as

“murder” or “kidnapping.” See id. at 197-98. Rather, Defendant Raymond’s motion to

dismiss calls for an inquiry as to whether any of the essential elements of the “additional

charges” the USAO brought against him in No. 07cr748 MCA originate from conduct known

to the USAO at the time stated in the plea agreement. See Jordan, 509 F.3d at 197-98.

       This inquiry is quite expansive because Defendant is charged in the present case with

committing violent crimes in aid of racketeering (VCAR) under 18 U.S.C. § 1959(a), and this

statute has several distinct elements which may encompass more than one instance of

conduct. “Congress enacted § 1959 to complement the [RICO] Act . . . by making it a

federal crime to commit violent acts for the purpose of maintaining or increasing one’s

position within a RICO enterprise.” United States v. Crenshaw, 359 F.3d 977, 984 (8th Cir.

2004); accord United States v. Mapp, 170 F.3d 328, 335 (2d Cir. 1999).

       The VCAR statute covers two different purposes for which violent crimes may be

committed in aid of racketeering: (1) “murder for hire” or “quid pro quo” crimes, in which

a defendant received something of pecuniary value from the racketeering enterprise in

exchange for carrying out the underlying offense, and (2) “status crimes,” in which a

defendant commits a violent crime in order to maintain or increase his or her position within

a criminal organization. See 18 U.S.C. § 1959(a); United States v. Fernandez, 388 F.3d

1199, 1232 (9th Cir. 2004). The Superseding Indictment in this case alleges both of these

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purposes in the conjunctive, although at trial the Government may seek a conviction on either

ground.

       Based on the record developed thus far, it appears that the Government is going to

proceed on a theory that the murder and kidnapping of Mr. George, as well as the attempted

murder of [name redacted], were “status crimes” committed for the purpose of maintaining

or increasing the Defendants’ positions within a particular faction of the Aryan Brotherhood.

If the Government does proceed on a theory that the kidnapping, murder, and attempted

murder alleged in the Superseding Indictment were “status crimes,” then to obtain

convictions under the VCAR statute, the Government must prove the following elements at

trial: (1) the defendant committed the violent crime(s) of murder, kidnapping, attempted

murder, and/or conspiracy; (2) there was a criminal organization, i.e., the Aryan

Brotherhood, that meets the statutory definition of an “enterprise,” (3) the enterprise was

engaged in or its activities affected interstate or foreign commerce, (4) the Aryan

Brotherhood was engaged in racketeering activity during the time period in question, (5) the

Defendant had or sought a position in the Aryan Brotherhood, and (6) the Defendant’s

general purpose in committing the violent crime at issue was to gain entrance to, or to

maintain or increase his position in, the Aryan Brotherhood. See United States v. Smith, 413

F.3d 1253, 1277 (10th Cir. 2005); Fernandez, 388 F.3d at 1219-20; Crenshaw, 359 F.3d at

991. As the Court recently emphasized in its Memorandum Opinion and Order regarding

the parties expert witnesses [Doc. 513], these elements must be proven at trial through




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evidence of specific conduct, rather than through the conclusory opinions of a case agent.

See United States vs. Mejia, 545 F.3d 179, 190-99 (2nd Cir. 2008).

      Thus, for purposes of defining the scope of conduct covered by Defendant Raymond’s

plea agreement in No. 03cr2066 MV, the relevant inquiry is not limited to the commission

of the underlying violent crimes of murder, kidnapping, attempted murder, or conspiracy.

Rather, the “conduct” referenced in the plea agreement also may apply to other elements of

the VCAR statute, such as having or seeking a position in the Aryan Brotherhood or

involvement in that organization’s racketeering activity apart from the underlying violent

crimes. See Jordan, 509 F.3d at 197-98 (concluding that the Government was precluded

from charging a defendant with committing a murder while engaged in a drug conspiracy

where the conduct entailed by the drug conspiracy was already covered by an earlier plea

agreement).

              5.    The Timing of the USAO’s Knowledge

      Having rejected the Government’s efforts to limit the broad language of the plea

agreement in No. 03cr2066 MV and disregard the numerous elements of the VCAR statute,

the Court next turns to the factual dispute concerning when the USAO first gained the

requisite knowledge of any conduct by Defendant Raymond from which an essential element

of the present charges arose or originated. The most direct evidence on this point is Mr.

Gonzales’ credible testimony that Mr. Valencia spoke to him about seeking Defendant

Raymond’s cooperation in the Rio Rancho murder investigation at some time before

Defendant Raymond entered his guilty plea. [Doc. 416, Tr. 10-24-08, at 37-38.] Although

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Mr. Gonzales could not recall the exact date or time at which Mr. Valencia first

communicated this request for cooperation regarding the Rio Rancho murder investigation,

I find Mr. Gonzales’ testimony to be credible, and I further conclude that someone from the

USAO (e.g., Mr. Valencia) communicated to Mr. Gonzales a request for Defendant

Raymond’s cooperation in the Rio Rancho murder investigation before Defendant Raymond

entered his guilty plea in No. 03cr2066 MV on October 14, 2004. Implicit in this

communication is the USAO’s knowledge of reports or investigations (whether oral or

written) describing evidence of Defendant Raymond’s involvement in Mr. George’s

disappearance.

       The timing of such a request for cooperation would be entirely consistent with the

procedure prescribed in Section 9-27.420 of the United States Attorney’s Manual (rev. 1997),

which states that: “In determining whether it would be appropriate to enter into a plea

agreement, the attorney for the government should weigh all relevant considerations,

including . . . [t]he defendant’s willingness to cooperate in the investigation or prosecution

of others.” There is evidence suggesting that it is a common practice of the USAO in the

District of New Mexico to initially charge similarly situated Defendants with gun crimes and

then solicit their cooperation before bringing additional charges or negotiating a plea

agreement.

       In the present case, for example, the USAO initially charged Defendant Wasson with

a gun crime and then brought additional charges after a period of time. The USAO also has

charged [name redacted] and Ms. Robinson with gun crimes arising from the same set of

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concurrent law-enforcement investigations, which resulted in plea agreements and

anticipated cooperation. Special Agent Griego’s testimony at the hearing on October 24,

2008, further indicates that it was his practice to refer matters to the Bureau of Alcohol

Tobacco and Firearms (ATF) to determine whether there were any “uncharged gun

violations” while his investigation into the broader criminal activities of an individual or

organization continued. [Doc. 416, Tr. 10-24-08, at 96.] The police report and Mr.

Valencia’s testimony regarding “Project Exile” is also consistent with this practice. [Ex. 2

to Doc. 380; Doc. 497, Tr. 1-5-09, at 32-33, 43.]

       The evidence of record supports a reasonable inference that the information

concerning the nature and existence of the RRDPS investigation into Mr. George’s

disappearance, as well as Defendant Raymond’s alleged involvement in that disappearance

and related racketeering activity, was readily available to Mr. Valencia, others in the USAO,

the ATF case agent in No. 03cr2066 MV, and the District Attorney’s Office before the date

of Defendant Raymond’s plea agreement in that case. In stating the factual basis for

Defendant Raymond’s change of plea on October 14, 2004, Mr. Valencia specifically

mentioned APD Officer Power and read verbatim from Officer Power’s police report

regarding Defendant Raymond’s arrest on June 29, 2002. [Ex. 2 to Doc. 308-3; Tr. 10-14-

04, at 15-19.] Thus, Officer Power was obviously going to be a key government witness in

No. 03cr2066 MV. He is also the same individual who reportedly spoke with Ms. Robinson

and Lieutenant Adams of the RRDPS about the investigation into Defendant Raymond’s

involvement with Mr. George’s disappearance on that date. [Ex. 2 to Doc. 377, at 9-10.] By

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speaking to his own witness, Mr. Valencia or the ATF case agent in No. 03cr2066 MV would

have readily made the link to the RRDPS investigation detailing Defendant Raymond’s

alleged involvement in the disappearance of Mr. George.

       Even if the USAO did not know “for sure” that each essential element of the crime

of murder had been completed at that time, Mr. Gonzales’ credible recollection of his

conversation with Mr. Valencia necessarily entails knowledge on the part of the USAO with

respect to the conduct of Defendant Raymond as it relates to Mr. George’s disappearance.

To further support this inference, Defendant Raymond has identified several instances in

which one or more law enforcement officers were investigating or receiving information

about his conduct relating to Mr. George’s disappearance prior to the date on which he

signed the plea agreement and entered his guilty plea in No. 03cr2066 MV. [Ex. 2 to Doc.

377, at 9-10; Ex. 3 to Doc. 377.]

       I therefore find by a preponderance of the evidence that the additional charges brought

against Defendant Raymond by way of the Superseding Indictment in No. 07cr748 MCA

arise out of, or originate from, the reports of such conduct which appeared during the

investigation that was ongoing and readily accessible to the USAO well before Defendant

Raymond entered his guilty plea in No. 03cr2066 MV. For example, many of the overt acts

listed in support of the conspiracy charged in Count 1 of the Superseding Indictment [Doc.

36] in No. 07cr748 MCA refer to events and items of evidence that were documented in the

reports prepared by law enforcement officers during the early stages of the investigation.

While there is no “smoking gun” confirming beyond doubt that the USAO received copies

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of the written reports of these investigations before October 14, 2004, there is an abundance

of indirect, circumstantial evidence to support a reasonable inference that the USAO knew

of the information in such reports before that date; such indirect, circumstantial evidence is

sufficient to meet Defendant Raymond’s burden of proof on this issue. See Allen, 57 F.3d

at 1537.

       All of the present charges against Defendant Raymond also reference his participation

in the Aryan Brotherhood and allege that the listed crimes were committed to aid the goals

of that organization. Defendant Raymond’s alleged participation in, and furtherance of the

goals of, the Aryan Brotherhood were the subject of investigation and documented in reports

prepared by law enforcement officers and probation officers before the effective date of his

plea agreement in No. 03cr2066 MV. Indeed, the very same incident that gave rise to the

charges in No. 03cr2066 MV may form part of the “racketeering activity” that the

Government attributes to the “Aryan Brotherhood” enterprise for purposes of sustaining the

charges against Defendant Raymond under the “violent crimes in aid of racketeering statute”

in No. 07cr748 MCA.

       In this regard, the Superseding Indictment [Doc. 36] alleges that “[i]dentity theft and

check fraud are the most prevalent non-violent crimes committed by the Aryan Brotherhood”

[¶ 6], and that “[t]o generate income participants engage in illegal activities under the

protection of the enterprise, including narcotics trafficking, fraud, trafficking in firearms, and

other illegal activities” [¶ 16(f)]. The activities described by Mr. Valencia at Defendant

Raymond’s change-of-plea hearing in No. 03cr2066 MV, and again at the hearing in the

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present case on January 5, 2009, fall into the category of “identity theft and check fraud,” as

Defendant Raymond reportedly was using the false identity of “Shawn Williams” as he

accompanied Ms. Robinson, who was attempting to use “hot checks” and an “obviously

altered driver’s license” as part of “some kind of organized fraud” or a “conspiracy to

commit . . . fraud.” [Ex. 2 to Doc. 308-3, Tr. 10-14-04, at 15-16; Doc. 497, Tr. 1-5-09, at 28,

35-36, 39.] Police reports indicate that RRDPS and APD exchanged information about this

line of evidence when they communicated about the arrest of Defendant Raymond and Ms.

Robinson on June 29, 2002. [Ex. 2 to Doc. 377-3, at 9-10.]

       In addition, the pre-plea pre-sentence report that was disclosed to the USAO on July

8, 2004, before Defendant Raymond’s plea agreement in No. 03cr2066 MV reported

Defendant Raymond’s affiliation with the “AB,” or Aryan Brotherhood. [Ex. 14 to Doc.

401.] Mr. Valencia acknowledged that he was aware of Defendant Raymond’s pre-plea pre-

sentence report before the date of Defendant Raymond’s plea agreement. While Mr.

Valencia could no longer recall the details of that report when he testified at the hearing on

January 5, 2009, he also acknowledged that he might have received information about

Defendant Raymond’s affiliation with the Aryan Brotherhood through other sources, because

law-enforcement agencies would attempt to “sell” a case for federal prosecution through such

references to a defendant’s gang-affiliation. [Doc. 497, Tr. 1-5-09, at 28-30, 35-36, 38-39.]

       This evidence of Defendant Raymond’s gang affiliation and involvement in

racketeering activity is very significant, because the fact that Defendant Raymond had or

sought a position in the Aryan Brotherhood, as well as the conduct evincing that

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organization’s racketeering activities, are essential elements of each of the crimes charged

under 18 U.S.C. § 1959(a) in the Superseding Indictment. The murder, attempted murder,

kidnapping, and conspiracies alleged therein do not become “violent crimes in aid of

racketeering” without these essential elements. See Smith, 413 F.3d at 1277; Fernandez, 388

F.3d at 1219-20; Crenshaw, 359 F.3d at 991. As of October 14, 2004, the USAO already

knew of conduct by Defendant Raymond which provides the factual basis for one or more

of these essential elements of each of the charged offenses. It follows that the plea

agreement in No. 03cr2066 MV applies to all of the present charges against Defendant

Raymond in No. 07cr748 MCA, not just those pertaining to Mr. George’s disappearance.

See Jordan, 509 F.3d at 197-98.

       To draw the contrary inference that the USAO did not know anything about the

various pending investigations by state and local officials with regard to Ms. Robinson,

Defendant Raymond, their alleged involvement in Mr. George’s disappearance, and

Defendant Raymond’s association with the racketeering activities of the Aryan Brotherhood

at the time he entered his guilty plea in No. 03cr2066 MV, one would have to rely on a

remarkably improbable series of coincidences: (a) the USAO managed to learn the details

of Defendant Raymond’s involvement in the incident of June 29, 2002, without

simultaneously learning of Ms. Robinson’s involvement in that incident or the

communications between APD and RRPDS that she prompted at that time; (b) despite the

efforts by law enforcement agencies to “sell” the case for federal prosecution through

“Project Exile” and the like, and despite the pressing need to develop evidence in support of

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the effort to have Defendant Raymond’s conditions of pretrial release revoked, the USAO

entered into the plea agreement in No. 03cr2066 MV without first inquiring about Defendant

Raymond’s reported association with the “Aryan Brotherhood” or any additional crimes that

he may have committed; (c) despite the USAO’s usual practice of soliciting and assessing

a defendant’s cooperation before entering into a plea agreement, the USAO did not do so in

that case, and (d) instead the USAO learned for the first time of the reports of Defendant

Raymond’s involvement in the disappearance of Mr. George through a “general canvassing”

or “cold call” initiated by Special Agent Griego less than a month after the plea hearing but

in ample time to alert the Court of these reports for purposes of the sentencing hearing.

       I do not accept the theory that the Government’s knowledge arose through such a

series of coincidences. Rather, I find that Mr. Gonzales’ testimony provides a more logical

explanation that is corroborated by the surrounding circumstances. I therefore determine that

Defendant Raymond has met his burden of proving that the present charges brought against

him by the USAO in No. 07cr748 MCA are precluded by his plea agreement in No. 03cr2066

MV. I further determine that the proper remedy for this situation is to require the USAO to

honor its obligations under the plea agreement in No. 03cr2066 MV and to dismiss the

charges against Defendant Raymond in No. 07cr748 MCA without prejudice. Because the

plea agreement in No. 03cr2066 MV does not bind state or federal agencies other than the

USAO for the District of New Mexico, the dismissal of these charges does not necessarily

preclude similar charges brought by another agency.




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       Further, my conclusion that the present charges against Defendant Raymond must be

dismissed without prejudice does not suggest or imply that Mr. Valencia, other staff at the

USAO, or other government witnesses in this matter have engaged in any misconduct. Both

Mr. Valencia and his opposing counsel, Mr. Gonzales, are experienced attorneys, highly

respected among their peers, who have appeared before me in numerous cases, and I have

no reason to question their professionalism.

       Although there was some effort to minimize the legal significance of the information

which he undisputedly possessed before the plea agreement (such as the “Form 13" pre-plea

pre-sentence report’s reference to the Aryan Brotherhood), I find that during his testimony

at the hearing on January 5, 2009, Mr. Valencia made a good-faith effort to recall the events

concerning his prosecution of Defendant Raymond several years ago. Ultimately, however,

his recollection was not clear enough to rebut the contrary evidence and corroborating

circumstances presented by the defense in this case. Similarly, I find that Special Agent

Griego and Agent Jessen credibly testified that it was not until November 2004 that they

learned of Defendant Raymond’s status as a suspect in Detective Hubbard’s investigation

into Mr. George’s disappearance; however, their testimony in this regard does not preclude

a reasonable inference that such knowledge reached the USAO through other, alternative

channels of communication with state and local law-enforcement officials before that date.

       B.     Subpoenas, Motions to Quash Same, and Motions to Suppress

       I next turn to the subpoenas and discovery requests that arose in the context of the

hearings on Defendant Raymond’s motion to dismiss. In response to such requests, the

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Government has disclosed to Defendant Raymond and to the Court a substantial amount of

information from the RRDPS files concerning the investigation of Mr. George’s

disappearance, as well as a substantial amount of information from the USAO’s files

regarding the prosecution of Defendant Raymond in No. 03cr2066 MV. Based on the

existing record which includes the redacted versions of these files, I have determined that

Defendant Raymond met his burden of proving that the charges against him in the present

case are subject to dismissal without prejudice.

       I therefore find it unnecessary to reach the question whether the Government should

be required to make additional disclosures with respect to the files or testimony that

Defendant Raymond attempted to subpoena for purposes of his motion to dismiss. Under

these circumstances, there is no longer an active controversy regarding the Government’s

Motion to Quash Subpoena Issued on October 9, 2008 [Doc. 388] as to the Rio Rancho

Department of Public Safety (RRDPS) file, or the Government’s Motion to Quash Subpoena

[Doc. 397] regarding Assistant United States Attorney Louis Valencia. All motions relating

to these subpoenas are denied as moot, with the understanding that the complete, original

files produced to the Court will be returned to the USAO and that there is no need to disclose

an unredacted version of these files in response to Defendant Raymond’s subpoenas and

discovery requests at this time.

       Similarly, the dismissal without prejudice of the present charges against Defendant

Raymond means that there is no remaining controversy as to Defendant Raymond’s Motion

to Suppress Evidence Seized from 313 C Geraldine Loop, Rio Rancho, New Mexico [Doc.

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433] and his Motion to Suppress Evidence Seized from 1992 Blue Chevrolet Camaro [Doc.

435]. As this dismissal precludes Defendant Raymond from being brought to trial on these

charges in this district, there is no occasion to determine what evidence, if any, would be

inadmissible at such a trial by operation of the exclusionary rule. Therefore, these motions

are also denied as moot.

       C.     Motion to Sever

       I reach a different conclusion with respect to Defendant Raymond’s Motion to Sever

Trials [Doc. 425] filed on November 17, 2008. This Court’s order dismissing the present

charges against Defendant Raymond without prejudice does not necessarily moot the issue

of severance, because the Government may wish to file an appeal from this order, and the

interlocutory nature of such an appeal may depend on whether the charges or counts against

Defendant Raymond continue to be joined with those against other Defendants. See 18

U.S.C. § 3731. A continued joinder of all Defendants in a single proceeding also could have

implications for purposes of calculating the amount of excludable time under the Speedy

Trial Act. See 18 U.S.C. §§ 3161(h)(1)(E), 3161(h)(7). So long as such a joinder is present,

it could be argued that an appeal from the dismissal of the charges or counts against

Defendant Raymond may have the effect of divesting this Court of jurisdiction over the

entire case, thereby delaying hearings and trial(s) for the other Defendants.

       If the Court were divested of jurisdiction over other Defendants by virtue of an appeal

from the dismissal of the charges against Defendant Raymond, then the delays occasioned

by an interlocutory appeal with respect to Defendant Raymond would likely cause unfair

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prejudice to both the prosecution and the defense of the other remaining Defendants in this

case. To avoid such unfair prejudice and clarify the finality of my ruling with respect to the

dismissal of the charges against Defendant Raymond, I determine that there is good cause

under Fed. R. Crim. P. 14 to sever all further proceedings against Defendant Raymond from

the proceedings against the other three Defendants in this case, with the result that this Court

retains jurisdiction over the case against the remaining Defendants while any appeal as to the

dismissal of the charges or counts against Defendant Raymond is pending. See United States

v. Tovar-Rico, 61 F.3d 1529, 1536 (11th Cir. 1995) (concluding that the government’s appeal

as to one defendant did not divest the district court of jurisdiction to try co-defendants);

United States v. Powell, 24 F.3d 28, 30-32 (9th Cir. 1994) (concluding that an appeal as to

one count of an indictment does not divest the district court of jurisdiction to try other counts

which have been severed pursuant to Fed. R. Crim. P. 14). I therefore grant Defendant

Raymond’s motion to sever concurrently with my ruling on his motion to dismiss.

III.   CONCLUSION

       For the foregoing reasons, the Court severs all further proceedings as to Defendant

Raymond and dismisses the charges against him in the Superseding Indictment [Doc. 36]

without prejudice.

       IT IS THEREFORE ORDERED that Defendant Raymond’s Motion to Sever Trials

[Doc. 425] is GRANTED.

       IT IS FURTHER ORDERED that all further proceedings regarding Defendant

Raymond are severed from those pertaining to the other Defendants.

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        IT IS FURTHER ORDERED that Defendant Raymond’s Motion to Dismiss [Doc.

308] is GRANTED.

        IT IS FURTHER ORDERED that Counts 1, 2, 3, 4, 5, 7, and 8 of the Superseding

Indictment [Doc. 36] are DISMISSED WITHOUT PREJUDICE as to Defendant Raymond

only.

        IT IS FURTHER ORDERED that the Government’s Motion to Quash Subpoena

Issued on October 9, 2008 [Doc. 388] as to the Rio Rancho Department of Public Safety

(RRDPS) filed on October 16, 2008, is DENIED AS MOOT, with the understanding that

the complete file will be returned to the USAO and that there is no need to disclose an

unredacted version of the file in response to Defendant Raymond’s subpoenas or discovery

requests at this time.

        IT IS FURTHER ORDERED that the Government’s Motion to Quash Subpoena

[Doc. 397] regarding Assistant United States Attorney Louis Valencia filed on October 20,

2008 is DENIED AS MOOT, with the understanding that the USAO’s file in No. 03cr2066

MV will be returned to the USAO and that there is no need to disclose an unredacted version

of the file in response to Defendant Raymond’s subpoenas or discovery requests at this time.

        IT IS FURTHER ORDERED that Defendant’s Motion to Suppress Evidence Seized

from 313 C Geraldine Loop, Rio Rancho, New Mexico [Doc. 433] is DENIED AS MOOT.

        IT IS FURTHER ORDERED that Defendant’s Motion to Suppress Evidence Seized

from 1992 Blue Chevrolet Camaro [Doc. 435] is DENIED AS MOOT.




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SO ORDERED in Albuquerque, New Mexico, this 24th day of February, 2009.



                                       M. CHRISTINA ARMIJO
                                       UNITED STATES DISTRICT JUDGE




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